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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO
                              Magistrate Judge Kathleen M. Tafoya

  Civil Action No. 13–cv–03309–REB–KMT


  MARTIN THOMAS WIRTH,

         Plaintiff,

  v.

  JOHN HICKENLOOPER, in his official capacity as Governor of Colorado,
  JOHN SUTHERS, in his official capacity as Attorney General of Colorado,
  STEPHEN A. GROOME, in his official capacity as 11th District Court Judge,
  VICKI ARMSTRONG, in her official capacity as Public Trustee of Park County,
  NATIONSTAR MORTGAGE, LLC,
  LAWRENCE E. CASTLE, in his corporate and individual capacities,
  THE CASTLE LAW GROUP, LLC,
  MARY HAGER, individually, and
  FEDERAL NATIONAL MORTGAGE ASSOCIATION (FANNIE MAE),

         Defendants.



                                         MINUTE ORDER

  ORDER ENTERED BY MAGISTRATE JUDGE KATHLEEN M. TAFOYA

  Plaintiff’s “Motion for Leave to File Amended Complaint Pursuant to Fed. Rule Civ. Proc.
  15(a)(1)(B), 15(a)(2)” (Doc. No. 53, filed March 24, 2014) is DENIED without prejudice.
  Plaintiff failed to confer with Defendants before filing the present motion. The Tenth Circuit has
  cautioned that pro se litigants “must follow the same rules of procedure that govern other
  litigants.” Green v. Dorrell, 969 F.2d 915, 917 (10th Cir. 1992) (“[W]e have repeatedly upheld
  dismissals in situations where the parties themselves neglected their cases or refused to obey
  court orders.”(citing cases)). The Local Rules of Practice for the District of Colorado require all
  parties to confer on motions and other disputes before a motion is filed. D.C.COLO.LCivR
  7.1(a).; see also Visor v. Sprint, No. Civ.A. 96-K-1730, 1997 WL 796989, at *1 (D. Colo. Dec.
  31, 1997).

  Dated: March 24, 2014
